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4
                                  UNITED STATES DISTRICT COURT
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                                 SOUTHERN DISTRICT OF CALIFORNIA
6

7                        (HONORABLE JANIS L. SAMMARTINO, JUDGE)

8
     UNITED STATES OF AMERICA,                         Criminal Case No. 20-CR-2483-JLS
9
                    Plaintiff,
10

11            v.                                       ORDER
12   FERNANDO BUELNA CHAVEZ,

13
                    Defendant.
14

15
            IT IS HEREBY ORDERED that the Motion/Trial Setting for Defendant in the above-

16   captioned matter currently scheduled for November 6, 2020 at 1:30 PM, be rescheduled to

17   December 11, 2020 at 1:30 PM.

18          For reasons stated in the joint motion, incorporated by reference herein, the court finds

19   the ends of justice served by granting the requested continuance outweigh the best interest of the

20   public and the defendant in a speedy trial.
21
            SO ORDERED.
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     Dated: November 4, 2020
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